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 5                            UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF CALIFORNIA
 7
     GARY PAUL PENDERGAST                          )   Case No.: 1:16-cv-00748-SAB
 8                                                 )
                      Plaintiff,                   )   ORDER RE STIPULATION TO
 9   v.                                            )   EXTEND TIME TO FILE
                                                   )   PLAINTIFF'S OPENING BRIEF
10   CAROLYN W. COLVIN, Acting                     )
     Commissioner of Social Security.              )   (ECF No. 14)
11                                                 )
                      Defendant.                   )
12                                                 )
13
14            Pursuant to the stipulation of the parties, IT IS HEREBY ORDERED that:
15            1.      Plaintiff shall file his opening brief on or before February 14, 2017;
16            2.      Defendant’s opposition shall be filed on or before March 17, 2017;
17                    and
18            3.      Plaintiff’s reply, if any, shall be filed on or before April 3, 2017.
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     IT IS SO ORDERED.
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21   Dated:        January 18, 2017
                                                       UNITED STATES MAGISTRATE JUDGE
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